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                               January 2, 2025
Via E-filing
Honorable Leo M. Gordon
US Court of International Trade
(Sitting by designation in the
District of New Jersey)
50 Walnut Street
Newark, NJ 07102

Re:   State of New Jersey v. U.S. Dep’t of Transp., et al.
      Civil Action No.: 2:23-cv-3885

Dear Judge Gordon:

     We are counsel for the Town of Fort Lee and other plaintiffs
in the related class action and are appearing as amicus in the
above matter. We support the application filed by the State of New
Jersey for interim and other relief.

     I am currently in Florida, and it is unlikely I will be able
to be in court tomorrow afternoon. I respectfully request leave
to appear remotely for the argument.

                                  Respectfully,
                                  Bruce H. Nagel
                                  BRUCE H. NAGEL

cc:   All counsel of record (via ECF)
